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                                                                                                       E-FILED
                                                                           Friday, 30 July, 2021 02:21:21 PM
                                                                               Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

ROBERT A. CRAFT,                                   )
                                                   )
                       Plaintiff,                  )
                                                   )
       v.                                          ) Case No. 3:21-cv-03098-SEM-TSH
                                                   )
QUAKER MANUFACTURING, LLC,                         ) Judge Sue E. Myerscough
and SUSAN REYNOLDS, individually,                  )
                                                   ) Magistrate Judge Tom Schanzle-Haskins
                       Defendants.                 )

 JOINT MOTION FOR LIMITED REFERRAL TO THE MAGISTRATE JUDGE FOR
    PURPOSES OF CONDUCTING A SETTLEMENT CONFERENCE AND FOR
   TEMPORARY STAYS ON THE BRIEFING ON DEFENDANTS’ MOTION TO
              DISMISS AND THE DISCOVERY PROCEEDINGS

       Defendants, Quaker Manufacturing, LLC (“Quaker”) and Susan Reynolds (“Reynolds”)

(collectively “Defendants”), and Plaintiff, Robert Craft (“Plaintiff,” collectively the “Parties”),

by and through their respective attorneys, jointly and respectfully request that this Court enter an

Order: (i) issuing a limited referral to the Magistrate Judge for the purpose of conducting a

settlement conference; (ii) staying the briefing on Defendant’s Motion to Dismiss; and (iii)

staying discovery and related proceedings during the pendency of the referral. In support of their

Joint Motion, the Parties state as follows:

       1.      This is an action for alleged discrimination, harassment, and retaliation in

violation of Title VII, the Age Discrimination in Employment Act, and Illinois common law by a

former employee of Quaker. The Complainant also asserts federal labor law violations and

violations of Illinois common law torts.

       2.      The Complaint contains Thirteen Counts and was filed on April 23, 2021. See

Docket Entry No. 1.
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        3.       Defendants waived formal service (see Docket Entry No. 3) and filed a Motion to

Dismiss directed at all claims in the Complaint on July 19, 2021. See Docket Entry Nos. 6-7.

        4.       Pursuant to Local Rule 7.1(B)(2), Plaintiff’s response to Defendants’ Motion to

Dismiss is due to be filed on Monday, August 2, 2021, which is fourteen days after service of

Defendants’ Motion to Dismiss.

        5.       As Defendants’ first appearance in this civil matter took place less than two (2)

weeks ago, there has been no Local Rule 16.2 Scheduling Conference calendared, and the Parties

have not yet conferred in preparation of the Local Rule 16.2 Scheduling Conference in order to

discuss scheduling issues that are largely driven by discovery dates.

        6.       The Parties have expressed mutual desires to now focus their resources towards

possible settlement. The Parties further believe that limiting litigation costs would aid the Parties

during this process, which would have the added benefit of conserving the Court’s resources.

        7.       Therefore, the Parties jointly request that this Court allow them to devote their

time, effort, and resources into attempting to resolve their differences with the assistance of

Magistrate Judge Tom Schanzle-Haskins, to whom the Parties seek a limited referral.

        8.       The Parties further request that briefing on Defendants’ Motion to Dismiss,

discovery, and related proceedings be stayed until Magistrate Judge Tom Schanzle-Haskins’

referral ends.

        9.       The Parties have not previously requested any stays in scheduling and only do so

now as reasonable effort to conserve resources that may be used towards settlement efforts at this

very early stage of the litigation.

        Wherefore, Quaker Manufacturing, LLC, Susan Reynolds, and Robert Craft jointly and

respectfully request that the Court enter an Order: (i) issuing a limited referral to Magistrate




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Judge Tom Schanzle-Haskins for the purpose of conducting a settlement conference; (ii) staying

the briefing on Defendant’s Motion to Dismiss; and (iii) staying discovery and related

proceedings during the pendency of the referral.

Date: July 30, 2021                                       Respectfully submitted,


/s/John C. Kreamer (With Consent)                          /s/Brian K. Jackson
John C. Kreamer                                            Brian K. Jackson
Joseph E. Urani                                            Laner Muchin, Ltd.
Kreamer Law Group, LLC                                     515 North State Street, Suite 2800
1100 E. Warrenville Rd., Suite 135                         Chicago, Illinois 60604
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Attorneys for Plaintiff                                    Attorney for Defendants




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                               CERTIFICATE OF SERVICE

       I, Brian K. Jackson, an attorney, hereby certify that on July 30, 2021, I caused a copy of

the foregoing JOINT MOTION FOR LIMITED REFERRAL TO THE MAGISTRATE

JUDGE FOR PURPOSES OF CONDUCTING A SETTLEMENT CONFERENCE AND

FOR TEMPORARY STAYS ON THE BRIEFING ON DEFENDANTS’ MOTION TO

DISMISS AND THE DISCOVERY PROCEEDINGS, in the above-captioned matter to be

filed with the Clerk of the District Court and served on the parties of record, including those

listed below, by operation of the Court’s CM/ECF electronic filing system, addressed to:

                                     John C. Kreamer
                                     Joseph E. Urani
                                     Kreamer Law Group, LLC
                                     1100 E. Warrenville Rd., Suite 135
                                     Naperville, IL 60563
                                     (p) (630) 995-3668/ (f) (630) 597-9532


                                                    /s/ Brian K. Jackson




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